  Case 24-50512-grs         Doc 12-1 Filed 05/02/24 Entered 05/02/24 14:29:12                    Desc
                            Exhibit Verified Statement Page 1 of 1



                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF KENTUCKY
                             LEXINGTON DIVISION
                                         Filed Electronically
IN RE:
                                                     ⁞                                  CHAPTER 11
DONALD ANTHONY FITZPATRICK                           ⁞
ASHLEY LOUISE FITZPATRICK                            ⁞
                                                     ⁞                 CASE NUMBER: 24-50512
                                                     ⁞
                       DEBTOR                        ⁞


                  VERIFIED STATEMENT OF SUBCHAPTER V TRUSTEE

          In connection with the United States Trustee’s Notice of Appointment of me as Subchapter
V trustee in this proceeding, I hereby verify that I am, and/or the firm I am employed at, as well
as the employees at that firm, are a “disinterested person” as defined by 11 U.S.C. §101(14) in
that I:
                 (a)     am not a creditor, equity security holder or insider of the debtor;

                 (b)     am not, and was not, within two years before the date of filing of the
                         petition, a director, officer, or employee of the debtor; and

                 (c)     do not have an interest materially adverse to the interest of the estate or of
                         any class of creditors or equity security holders, by reason of any direct or
                         indirect relationship to, connection with, or interest in, the debtor, or for any
                         other reason.

          Subject to court approval pursuant to 11 U.S.C. § 330, I anticipate seeking compensation
for my service in this case at an hourly rate of $300.00, in addition to seeking reimbursement for
any actual and necessary expenses I incur.
Dated: May 1, 2024.                                      /s/Charity S. Bird
                                                         CHARITY S. BIRD
                                                         Kaplan Johnson Abate & Bird, LLP
                                                         710 W. Main Street, 4th Floor
                                                         Louisville, KY 40202
                                                         cbird@kaplanjohnsonlaw.com
                                                         (502) 540-8285




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